                              Case 2:08-cr-00233-PD Document 53 Filed 04/11/16 Page 1 of 4
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(Rev. I 0/93)

                                            United States District Court
                                                              for the

                                               Eastern District of Pennsylvania

                                                          April 8, 2016

                U.S.A. vs. Maurice Hill                                     Case No.07-597-01& 08-CR-233-01


                                          VIOLATION OF SUPERVISED RELEASE

                        COMES NOW Kenneth M. Bergmann U.S. PROBATION OFFICER OF THE COURT
                presenting an official report upon the conduct and attitude of Maurice Hill who was placed on
                supervised release by the Honorable Paul S. Diamond sitting in the Court at Philadelphia PA. on
                the 27th day of April, 2010 who fixed the period of supervision at three years. and imposed the
                general terms and conditions theretofore adopted by the Court and also imposed special
                conditions and terms as follows:

                ORIGINAL OFFENSE:            On Case Number 07-597-01: Possession of a firearm by a
                                             convicted felon (Count One).

                                             On Case Number 08-233-01: Possession of a firearm by a
                                             convicted felon (Count One).

                ORIGINAL SENTENCE:           The defendant was committed to the custody of the U.S. Bureau of
                                             Prisons for a period of 55 months on each case to run concurrently.
                                             Following release, the defendant shall be on supervised release for
                                             a term of three years, on both cases, to run concurrently. A $200
                                             special assessment was also imposed.

                SPECIAL CONDITTONS:          (1) The defendant shall refrain from the use of drugs and shall
                                             submit to urinalysis or other forms of testing to ensure compliance.
                                             It is further ordered that the defendant shall submit to evaluation
                                             and treatment as approved by the U.S. Probation Office. The
                                             defendant shall abide by the rules of any program ans shall remain
                                             in treatment until satisfactorily discharged with approval of the
                                             Court; (2) The defendant shall provide the U.S. Probation Office
                                             with full disclosure of his financial records to include yearly
                                             income tax returns upon request. The defendant shall cooperate
                                             with the probation officer in the investigation of his financial
                                             dealings and shall provide truthful, monthly statements of his
                                             income; (3) The defendant is prohibited from incurring any new
                                             charges or opening additional lines of credit without the approval
                                             of the probation officer, unless the defendant is in compliance with
                                             a payment schedule for any fine or restitution obligation or
                                             otherwise has the express approval of the Court. The defendant
                                             shall not encumber or liquidate interest in any assets unless it is in
                                             direct service of the fine or restitution obligation or otherwise has
                   Case 2:08-cr-00233-PD Document 53 Filed 04/11/16 Page 2 of 4
RE: Hill, Maurice
-case No •. 07-597-01& 08-CR-233-01


                                      the express approval of the Court; (4) The defendant shall
                                      participate in a vocational training program as recommended by the
                                      Probation Office. The defendant shall remain in the program until
                                      satisfactorily discharged with approval of the Court; and (5)
                                      Payment of the fine and special assessment is a condition of
                                      Supervised Release and the defendant shall satisfy the amount due
                                      in monthly installments of not less then $50.00.

       MODIFICATION OF
       CONDffiONS:                    On September 30, 2013, due to the not answering truthfully the
                                      inquiries of this officer, the Court modified the defendant
                                      conditions of release to include placement in a Residential Re-
                                      Entry Center for a period of 60 days.

       DATE SUPERVISION
       COMMENCED:                            August 12, 2013


       The above probation officer has reason to believe that the supervised releasee has violated the
       terms and conditions of his supervision under such circumstances as may warrant revocation.
       These conditions are:

       A      Standard Condition: While on supervised release you shall not commit another Federal,
              state or local crime and shall not illegally possess a controlled substance. Revocation of
              probation and supervised release is mandatory for possession of a controlled substance.

              On April 1, 2016, Mr. Hill was arrested by the Philadelphia Police Department and
              charged with a felony count of manufacturing, delivering with intent and a misdemeanor
              count of knowingly possessing a controlled substance.

              According to the police report, officers observed a black Ford 500 with dark tint on the
              windows being operated in a high narcotics area. Due to the tint on the widows officers
              conducted a traffic stop of the vehicle. Officers on the scene recognized the defendant as
              being a former narcotics and firearms offender.

              Based on the officers knowledge of the area and Mr. Hill's background, the officers
              called a K-9 unit to the scene. The K-9 performed an exterior "sniff' of vehicle. The K-9
              gave a positive reaction for the presence of narcotics. Based on this information, the
              officer searched the defendant's car and found two zip locked baggies of alleged crack
              cocaine. This substance later tested positive for cocaine base. The total weight of the
              narcotics found was .5 grams, with a street value of $20.00 Also found in the vehicle
              was $900.00 of U.S. currency and found on the defendant's person was an additional
              $779.00.

              Later on April 1, 2016, the defendant was released from custody on his own
              recognizance; however, on April 6, 2016, the Philadelphia County Probation Office,

                                                       2
                  Case 2:08-cr-00233-PD Document 53 Filed 04/11/16 Page 3 of 4
RE: Hill, Maurice
-case No .. 07-597-01& 08-CR-233-01


              which also supervises Mr. Hill, issued a warrant for Mr. Hill's arrest. Later that day, the
              defendant reported to the County Probation Office was detained. Mr. Hill is currently
              being held at the Curran-Fromhold Correctional Facility in Philadelphia. A May 3, 2016,
              preliminary hearing has been scheduled in Municipal Court on this matter.

              GRADE OF VIOLATION



       PRAYING THAT THE COURT WILL ORDER... THE ISSUANCE OF AWARRANT TO
                                            BE LODGED AS A DETAINER, FOR
                                            THE NAMED SUPERVISED
                                            RELEASEE TO BE ARRESTED AND
                                            BROUGHT BEFORE THE COURT
                                            FOR A REVOCATION HEARING.

                                                            I declare under penalty of perjury that the
                                                            foregoing is true and correct.

                                                            Respectfully,

                                                           9~~.#~
                                                            James D. Muth
                                                            Supervising U.S. Probation Officer

                                                            Place Philadelphia. PA
                                                            Date April 8, 2016

      cc:    Assistant U.S. Attorney
             Defense Attorney
             U.S. Marshal's - Warrant Squad



         ORDEROFTHECOURT                ~
      Considered and otdered this  _t________
      day of   ArJf \ ~               ,
                                      20 I la   and ordered
      filed and made part of the records in
      the above case.



      U.S. District Court Judge




                                                       3
            Case 2:08-cr-00233-PD Document 53 Filed 04/11/16 Page 4 of 4
            INFORMATION SHEET FOR REVOCATION OF SUPERVISION


United States of America        )     Case No.07-597-01& 08-CR-233-01

               vs.              )

       Maurice Hill             )


Defendant's last known                      2629 N. Douglas Street
Address and Telephone No.                   Philadelphia, PA 19132



Defendant's in custody at:                  Curran Fromhold Correctional Facility
                                            7901 State Road
                                            Philadelphia PA 19136
                                            Photo Number 840132


Defendant's last known                     Wayne R. Maynard, Esquire
Counsel, Address and                       42 South 15th Street
Telephone number:                          Philadelphia, PA 19102
                                           215-569-2525

Assistant U.S. Attorney:                   Maria Carrillo, Esquire
Street Address:                            615 Chestnut Street, Suite 1250
City and State:                            Philadelphia, PA 19106
Telephone No.:                             (215) 861-8401

Other Information:                         NIA




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                                                  Kenneth M. Bergmann
                                                  Sr. U.S. Probation Officer
                                                  Telephone No. 267.:299-4576
